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                                                   United States District Court
                                                               Southern District of Florida
                                                                 WEST PALM BEACH DIVISION
                                                                                                       AMENDED
  UNITED STATES OF AMERICA                                                         JUDGMENT IN A CRIMINAL CASE

  v.                                                                               Case Number - 9:07-80138-CR-MARRA-1

  GEORGE FORGIONE
                                                                                   USM Number: 75645-053

                                                                                   Counsel For Defendant: Alan S. Futerfas, Esq.
                                                                                   Counsel For The United States: Kerry Baron, AUSA
                                                                                   Court Reporter: Stephen Franklin
  ___________________________________
  Date of Original Judgment: 3/12/10
  (Or Date of Last Amended Judgment)
  Reason for Amendment:
         Modification of Restitution Order 18 U.S.C. §3664

  The defendant pleaded guilty to Counts One and Two of the Superseding Information on December 5, 2008. The defendant is
  adjudicated guilty of the following offenses:


           TITLE/SECTION                                      NATURE OF
              NUM BER                                          OFFENSE                   OFFENSE ENDED                                COUNT

    18 U.S.C. § 371                                Conspiracy to commit mail                 October 2004                              One
                                                   fraud

    21 U.S.C. §§ 331(a),                           Introduction and causing the           February 17, 2004                            Two
    343(a)(1) and 333(a)(2) and                    introduction into interstate
    18 U.S.C. § 2                                  commerce of a food, which
                                                   was misbranded in labeling
                                                   with the intent to defraud or
                                                   mislead customers

  The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
  Sentencing Reform Act of 1984.

  It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
  residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
  If ordered to pay restitution, the defendant must notify the court and United States attorney of any material changes in economic
  circumstances.

                                                                                             Date of Imposition of Sentence:
                                                                                             3/12/10




                                                                                             ________________________________
                                                                                             KENNETH A. MARRA
                                                                                             United States District Judge

                                                                                             May 18, 2010
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                                                              IMPRISONMENT

            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
  for a term of 60 months. This term consists of 60 months as to Count One and 36 months as to Count Two, all terms
  to run concurrently.

  The Court makes the following recommendations to the Bureau of Prisons:

               The defendant be designated to FCI - Allenwood Camp, PA and enter the Bureau of Prisons 500
               hour drug treatment program and that he receive credit for time served in the Ukraine from
               December 13, 2007.

  The defendant is remanded to the custody of the United States Marshal.




                                                                RETURN

  I have executed this judgment as follows:




  Defendant delivered on ____________________ to _________________________________

   at _____________________________________________, with a certified copy of this judgment.


                                                                             __________________________________
                                                                                  UNITED STATES MARSHAL


                                                                         By:__________________________________
                                                                                     Deputy U.S. Marshal
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                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of Three (3) years as to Count One and
  One (1) year as to Count Two, all terms to run concurrently.

  The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
  the custody of the Bureau of Prisons.

  The defendant shall not commit another federal, state or local crime.

  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
  controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
  periodic drug tests thereafter, as determined by the court.

               The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

               The defendant shall cooperate in the collection of DNA as directed by the probation officer.


           If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as any additional
  conditions on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION

  1.           The defendant shall not leave the judicial district without the permission of the court or probation officer;
  2.           The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
               month;
  3.           The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4.           The defendant shall support his or her dependents and meet other family responsibilities;
  5.           The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
               reasons;
  6.           The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;
  7.           The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
               substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8.           The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9.           The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
               unless granted permission to do so by the probation officer;
  10.          The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
               contraband observed in plain view by the probation officer;
  11.          The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement officer;
  12.          The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
               of the court; and
  13.          As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record
               or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s
               compliance with such notification requirement.
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                                                    SPECIAL CONDITIONS OF SUPERVISION

               The defendant shall also comply with the following additional conditions of supervised release:

  Financial Disclosure Requirement - The defendant shall provide complete access to financial information,
  including disclosure of all business and personal finances, to the U.S. Probation Officer.

  Mental Health Treatment - The defendant shall participate in an approved inpatient/outpatient mental health
  treatment program. The defendant will contribute to the costs of services rendered (co-payment) based on ability to
  pay or availability of third party payment.

  Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a reasonable
  manner and at a reasonable time by the U.S. Probation Officer.

  Self-Employment Restriction - The defendant shall obtain prior written approval from the Court before entering
  into any self-employment.
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                                                         CRIMINAL MONETARY PENALTIES


         The defendant must pay the total criminal monetary penalties under the schedule of payments on the Schedule of
  Payments sheet.


                   Total Assessment                                          Total Fine                               Total Restitution

                           $200.00                                               $                                          $720.95

  It is further ordered that the defendant shall pay joint and several restitution with his codefendant in the amount of $720.95.
  During the period of incarceration, payment shall be made as follows: (1) if the defendant earns wages in a Federal Prison
  Industries (UNICOR) job, then the defendant must pay 50% of wages earned toward the financial obligations imposed by this
  Judgment in a Criminal Case; (2) if the defendant does not work in a UNICOR job, then the defendant must pay $25.00 per quarter
  toward the financial obligations imposed in this order.

  Upon release of incarceration, the defendant shall pay restitution at the rate of 10% of monthly gross earnings, until such time as
  the court may alter that payment schedule in the interests of justice. The U.S. Bureau of Prisons, U.S. Probation Office and U.S.
  Attorney’s Office shall monitor the payment of restitution and report to the court any material change in the defendant’s ability
  to pay. These payments do not preclude the government from using other assets or income of the defendant to satisfy the
  restitution obligations.

  The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
  specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U .S.C. § 3664(I), all
  nonfederal victims must be paid before the United States is paid.


                                                                                                                              Priority Order
                                                              Total Amount                 Amount of                          or Percentage
             Name of Payee                                       of Loss              Restitution Ordered                      of Payment

    To victims as listed in                                     $720.95                     $720.95
    presentence report



  *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on
  or after September 13, 1994, but before April 23, 1996.
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                                                              SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

                A. Lump sum payment of $200.00 due immediately.


  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
  is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
  Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:

                U.S. CLERK’S OFFICE
                ATTN: FINANCIAL SECTION
                400 NORTH M IAM I AVENUE, ROOM 8N09
                M IAM I, FLORIDA 33128-7716

  The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the U.S.
  Attorney’s Office are responsible for the enforcement of this order.




               The defendant shall forfeit the defendant’s interest in the following property to the United States:

          The defendant’s right, title and interest to the property identified in the Amended Preliminary Order of
  Forfeiture [DE 281], which has been entered by the Court and is incorporated by reference herein, is hereby forfeited.

    Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
  principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
